            Case 1:22-cr-00208-JEB Document 30 Filed 07/27/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :       Case No. 22-CR-208 (JEB)
                                                     :
               v.                                    :
                                                     :
KASH LEE KELLY,                                      :
                                                     :
                        Defendant.                   :
___________________________________                  :


                    JOINT MOTION TO CONTINUE THE PLEA HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and joined by the above defendant, by and through his counsel,

respectfully submit this Joint Motion to Continue the Plea Hearing for approximately 40 - 45 days

in the above captioned matter currently scheduled for Thursday, July 28, 2022. In support of this

motion, the government relies on the following points and authorities and any other such points

and authorities as may be raised at any hearing on this matter.

       1)      The Court previously set the plea hearing in this matter for July 28, 2022, at 2:00

p.m.

       2)      Because the parties request additional time to edit and review the necessary plea

paperwork and for the defendant to review the same, undersigned counsel for the government and

counsel for the defendant request that the plea hearing be continued for approximately 40-45 days

or whatever date is consistent with the Court’s calendar.

       3)      The parties can also represent the any sentencing hearing in this matter should take

place after the Court has Ordered a new Presentence Report by U.S. Probation Office for the

District of Columbia.
            Case 1:22-cr-00208-JEB Document 30 Filed 07/27/22 Page 2 of 2




       4)      If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

       5)      Undersigned counsel for the government can represent that counsel for the

defendant joins this motion and further advise the Court that the defendant agrees that the Speedy

Trial Clock, pursuant to the Speedy Trial Act 18 U.S. Code § 3161, should be tolled until the next

plea hearing in this matter.

       6)      Wherefore, the government request the Court to continue this matter for

approximately 40-45 days or whatever date is consistent with the Court’s calendar.



                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY

                                       By:      /s/ Emory V. Cole
                                               Emory V. Cole
                                               PA. Bar #49136
                                               Assistant United States Attorney
                                               United States Attorney’s Office for D.C.
                                               601 D Street, N.W.
                                               Washington, D.C. 20530
                                               E-mail: Emory.Cole@usdoj.gov
                                               Telephone: (202) 252-7692
